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                                          May 02, 2024
                                       CLERK, U.S. DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA




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              /s/ R. Alvarez



    No process necessary.
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